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                                                          May 25 2018

VIA ECF AND EMAIL
Hon. Richard J. Sullivan
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

        Re: Tecun et al v. Mildred Deli Grocery Inc. et al
            Case No. 16-cv-05796-RJS

Dear Judge Sullivan:

        This firm represents Plaintiffs in the above referenced matter. I write to advise the Court

that the parties have reached a settlement agreement. We intend to submit the executed agreement

together with an explanation of why it should be approved as fair and reasonable, next week.

        We thank the Court for its attention to this matter.


                                                             Respectfully submitted,

                                                             /s/ Joshua S. Androphy

                                                             Joshua S. Androphy




                          Certified as a minority-owned business in the State of New York
